On July 31, 1941, the Philadelphia Transportation Company filed tariffs increasing rates. The City of Philadelphia filed objections to the tariffs. The Commission suspended the tariffs and proceeded to inquire *Page 374 
whether the proposed rates were just and reasonable. It concluded that the existing rates were just and reasonable and should remain in effect. The Transportation Company appealed to the Superior Court. That court holding on April 18, 1944, that the Commission had valued the company's property inadequately, raised the valuation and also the rate of earnings allowable thereon. The City and the Commission now complain of this action. There has been no change in the rates which the Commission found to be reasonable.
We understand from the Commission's petition that the Transportation Company's earnings have so increased during and since the period of the proceeding before the Commission that the company, after that increase became manifest, did not seek an increase in its rates.
With the existing rates remaining in effect, it is of no legal consequence in this proceeding, that the Commission and the learned court differed in their valuations or in the permissible rate of earnings thereon. No useful purpose can be served by allowing the appeal for the discussion of these subjects. If in the future, increased rates are proposed, such matters may become relevant; a review now would be merely academic.
Appeals refused. *Page 375 